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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
	  

DISPLAY TECHNOLOGIES, LLC,

                                                          Civil Action No. 2:17-cv-194
                       Plaintiff,

                v.
                                                         JURY TRIAL DEMANDED
OLYMPUS AMERICA, INC.,

                       Defendant.


                 AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Display Technologies, LLC (“Plaintiff”) files this Amended Complaint against	  

Olympus America Inc. (“Defendant”) alleging as follows:

                                            PARTIES

         1.     Plaintiff Display Technologies, LLC is limited liability company organized under

the state of Texas having a principal place of business at 1400 Preston Road, Ste. 400, Plano, TX

75093.

         2.     Upon information and belief Defendant Olympus America Inc. is a corporation

organized and existing under the laws of the State of Delaware, having its principal place of

business at 3500 Corporate Parkway, Center Valley, PA 18034. Olympus may be served via its

registered agent: Corporation Service Company, 2711 Centerville Rd., Ste. 400, Wilmington, DE

19808.
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                                  JURISDICTION AND VENUE

        3.       This is an action for infringement of a United States patent arising under 35

U.S.C. §§ 271(a), 281, and 284 - 85. This Court has subject matter jurisdiction over this action

under 28 U.S.C. §1331 and §1338(a).

        4.       Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, Defendant has transacted business in this district, and has committed acts

of patent infringement in this district.

        5.       Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at	   least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Texas and in this

judicial district.


                                     COUNT I
                      (INFRINGEMENT OF U.S. PATENT NO. 9,300,723)

        6.       On March 29, 2016, United States Patent No. 9,300,723 (the “’723 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention titled

“Enabling Social Interactive Wireless Communications.” A true and correct copy of the ’723

Patent is attached hereto as Exhibit A.

        7.       Mr. Leigh M. Rothschild is listed as the inventor of the ’723 Patent.

        8.       Plaintiff is the owner by assignment of the ’723 Patent with all rights in and to

that patent.

        9.       Defendant directly or through intermediaries, makes, uses, imports, sells, and/or

offers for sale products and/or systems (i.e., the Olympus cameras with NFC and Wi-Fi in
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conjunction with the Olympus Image Share app (collectively, the “Accused Instrumentalities”)

that infringe claims 1, 3, 6, 7, 8, 9, 12, 14, 17, 18, 19, 20, 32, 34, 37, 38, 39, 40, 42, 44, 47, 48,

49, and 50 of the ’723 Patent.

       10.     Upon information and belief, Defendant has been and is now infringing claims 1,

3, 6, 7, 8, 9, 12, 14, 17, 18, 19, 20, 32, 34, 37, 38, 39, 40, 42, 44, 47, 48, 49, and 50 of the ’723

Patent in the State of Texas, in this Judicial District, and elsewhere in the United States, by,

among other things, directly or through intermediaries, making, using, importing, selling and/or

offering for sale Olympus Cameras with NFC and Wi-Fi in conjunction with the Olympus Image

Share app which all operate in substantially the same manner covered by one or more claims of

the ’723 Patent to the injury of Plaintiff. Defendant is thus infringing, literally infringing, and/or

infringing the ’723 Patent under the doctrine of equivalents.         Defendant is thus liable for

infringement of the ’723 Patent pursuant to 35 U.S.C. §. 271(a).

       11.     Upon information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, predecessors in interest to the ’723 Patent complied with such requirements.

       12.     The Accused Instrumentalities infringe claim 1 of the ’723 Patent and include at

least one media terminal disposed in an accessible relation to at least one interactive computer

network (i.e., the media terminal is an android smart phone which includes an 802.11 Wi-Fi

transmitter and receiver), a wireless range structured to permit authorized access to said at least

one interactive computer network (i.e., it includes an NFC chip which allows permits authorized

access to the 802.11 Wi-Fi network), at least one media node disposable within said wireless

range (i.e., a Olympus camera with Wi-Fi and a NFC tag placed within NFC range of an android

smart phone running the Olympus Image Share app), wherein said at least one media node is

detectable by said at least one media terminal (i.e., once placed within NFC range, the Olympus
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camera with Wi-Fi and a NFC tag is automatically detected by the android phone running then

Olympus Image Share app), at least one digital media file (e.g., a picture or video) initially

disposed on at least one of said at least one media terminal or said at least one media node (e.g.,

a picture or video initially disposes on the Olympus camera or android smartphone with the

Olympus Image Share app installed), said at least one media terminal being structured to detect

said at least one media node disposed within said wireless range (i.e., the android smartphone

running the Olympus Image Share app automatically detects the Olympus camera once it is

placed within NFC range), a communication link structured to dispose said at least one media

terminal and said at least one media node in a communicative relation with one another via said

at least one interactive computer network (i.e., a Wi-Fi network), said communication link being

initiated by said at least one media terminal (i.e., the communications link is initiated by the

android smartphone once it is placed within NFC range of the Olympus Camera), said at least

one media node and said at least one media terminal being structured to transmit said at least one

digital media file therebetween via said communication link (i.e., the Olympus camera and

android smartphone running the Olympus Image Share app are structured to transmit a picture or

video file in a digital format over the wi-fi network), and said communication link is structured

to bypass at least one media terminal security measure for a limited permissible use of the

communication link by the media node to only transferring the at least one digital media file to,

and displaying the at least one digital media file on, the at least one media terminal (e.g., the Wi-

Fi network security settings such as encryption protocols and password requirements are

bypassed for the limited purpose of transmitting a photo or video file from the Olympus camera

to the Android smartphone running the Olympus Image Share app). See Ex. B, Figs. 1-5.
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        13.     The Accused Instrumentalities infringe claim 3 of the ’723 Patent, wherein the

transmission of the media file from the at least one media node to the at least one media terminal

completely bypasses the security measure (i.e., the transmission of the photo or video file from

the Olympus camera to the android smartphone running the Olympus Wireless Utility Mobile

app completely bypasses the Wi-Fi security settings on the android smartphone and Olympus

camera, such as encryption protocols and password requirements). See Ex. B, Figs. 1-5.

        14.     The Accused Instrumentalities infringe claim 6 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-

Fi connection (i.e., the communications link is a Wi-Fi connection). See Ex. B, Figs. 1-5.

        15.     The Accused Instrumentalities infringe claim 7 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a

streaming video file (i.e., the file is an image file, video file, or streaming video file such as “live

view mode”). See Ex. B, Figs. 1-5.

        16.     The Accused Instrumentalities infringe claim 8 of the ’723 Patent by presenting

the at least one digital media file on a display (i.e., the file is displayed on the android

smartphone running the Olympus Image Share app and the Olympus camera). See Ex. B, Figs.

1-6.

        17.     The Accused Instrumentalities infringe claim 9 of the ’723 Patent, wherein the at

least one digital media file is provided by the at least one media node (i.e., the image, video, or

streaming video file is provided by the Olympus camera). See Ex. B, Figs. 1-6.

        18.     The Accused Instrumentalities infringe claim 12 of the ’723 Patent, and includes a

wireless receiver (i.e., the android smartphone running the Olympus Image Share app and the

Olympus camera includes a wireless receiver in the form of an 802.11 network adapter); a
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security measure (i.e., encryption or password requirements for a wireless network connection);

and the media system disposed in an accessible relation to at least one interactive computer

network that has a wireless range structured to permit authorized access to said at least one

interactive computer network (i.e., the android smartphone running the Olympus Image Share

app and the Olympus camera includes a NFC chip which is structured to permit authorized

access to an 802.11 Wi-Fi network), the wireless mobile device within said wireless range,

wherein said wireless mobile device is detectable by said media system (i.e., when the Olympus

camera with NFC and Wi-Fi is placed within NFC range of the android smartphone running the

Olympus Image Share app, it is automatically detected by the android smartphone), at least one

digital media file initially disposed on the wireless mobile device (i.e., the Olympus camera

includes at least on digital media file), said media system being structured to detect said wireless

mobile device disposed within said wireless range (i.e., the android smartphone running the

Olympus Image Share app is configured to automatically detect the Olympus camera once it

entered NFC range), a communication link structured to dispose said media system and said

wireless mobile device in a communicative relation with one another via said at least one

interactive computer network (i.e., the Olympus camera android smartphone running the

Olympus Image Share app includes a Wi-Fi network adapter which places them in

communication over w Wi-Fi network), said communication link being initiated by said media

system (i.e., once the Olympus camera is placed within NFC range, the android smartphone

automatically initiates a Wi-Fi connection), said wireless mobile device and media system being

structured to transmit said at least one digital media file therebetween via said communication

link (i.e., the Olympus camera and android smartphone running the Olympus Image Share app

are configured to transmit a digital media file such as a photo between them over the Wi-Fi
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network), and said communication link (i.e., a Wi-Fi network) is structured to bypass the security

measure of the media system for a limited permissible use of the communication link by the

wireless mobile device for only transferring the at least one digital media file to, and displaying

the at least one digital media file on, the media system (i.e., the Wi-Fi network security settings

such as encryption or password requirements are bypassed for the limited purpose of transmitting

the digital media file and displaying it on the android smartphone running the Olympus Image

Share app). See Ex. B, Figs. 1-6.

       19.     The Accused Instrumentalities infringe claim 14 of the ’723 Patent, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure (i.e., the Wi-Fi security settings such as

encryption or password requirements are completely bypassed for the purpose of transmitting the

digital media file such as a photo). See Ex. B, Figs. 1-6.

       20.     The Accused Instrumentalities infringe claim 17 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a

WiFi connection (i.e., a Wi-Fi connection). See Ex. B, Figs. 1-5.

       21.     The Accused Instrumentalities infringe claim 18 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a

streaming video file (i.e., the file transmitted is a image file, video file, or streaming video file—

live view). See Ex. B, Figs. 1-5.

       22.     The Accused Instrumentalities infringe claim 19 of the ’723 Patent, wherein the

further media system is configured to present the at least one digital media file on a display (i.e.,

the file is displayed on the android smartphone running the Olympus Image Share app and the

Olympus camera). See Ex. B, Figs. 1-6.
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       23.     The Accused Instrumentalities infringe claim 20 of the ’723 Patent, wherein the at

least one media file is provided by the wireless mobile device (i.e., the digital media file is

provided by the Olympus camera). See Ex. B, Figs. 1-6.

       24.     The Accused Instrumentalities infringe claim 32 of the ’723 Patent, they are

wireless mobile devices configured to transmit a media file to a media system over a

communication network having a security measure comprising: the media system disposed in an

accessible relation to at least one interactive computer network that has a wireless range

structured to permit authorized access to said at least one interactive computer (i.e., it includes an

NFC chip which allows permits authorized access to the 802.11 Wi-Fi network), the wireless

mobile device within said wireless range (i.e., a Olympus camera with Wi-Fi and a NFC tag

placed within NFC range of an android smart phone running the Olympus Image Share app),

wherein said wireless mobile device is detectable by said media system (i.e., once placed within

NFC range, the Olympus camera with Wi-Fi and a NFC tag is automatically detected by the

android phone running then Olympus Image Share app), at least one digital media file (e.g., a

picture or video) initially disposed on the wireless mobile device (e.g., a picture or video initially

disposes on the Olympus camera or android smartphone with the Olympus Image Share app

installed), said media system being structured to detect said wireless mobile device disposed

within said wireless range (i.e., the android smartphone running the Olympus Image Share app

automatically detects the Olympus camera once it is placed within NFC range), a communication

link structured to dispose said media system and said wireless mobile device in a communicative

relation with one another via said at least one interactive computer network (i.e., a Wi-Fi

network), said communication link being initiated by said media system (i.e., the

communications link is initiated by the android smartphone once it is placed within NFC range
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of the Olympus Camera), said wireless mobile device and media system being structured to

transmit said at least one digital media file therebetween via said communication link (i.e., the

Olympus camera and android smartphone running the Olympus Image Share app are structured

to transmit a picture or video file in a digital format over the wi-fi network), and said

communication link is structured to bypass the security measure of the media system for a

limited permissible use of the communication link by the wireless mobile device for only

transferring the at least one digital media file to, and displaying the at least one digital media file

on, the media system (e.g., the Wi-Fi network security settings such as encryption protocols and

password requirements are bypassed for the limited purpose of transmitting a photo or video file

from the Olympus camera to the Android smartphone running the Olympus Image Share app).

See Ex. B, Figs. 1-5.

       25.     The Accused Instrumentalities infringe claim 34 of the ’723 Patent, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure (i.e., the transmission of the photo or video file

from the Olympus camera to the android smartphone running the Olympus Wireless Utility

Mobile app completely bypasses the Wi-Fi security settings on the android smartphone and

Olympus camera, such as encryption protocols and password requirements). See Ex. B, Figs. 1-

5.

       26.     The Accused Instrumentalities infringe claim 37 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-

Fi connection (i.e., the communications link is a Wi-Fi connection). See Ex. B, Figs. 1-5.

       27.     The Accused Instrumentalities infringe claim 38 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a
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 streaming video file (i.e., the file is an image file, video file, or streaming video file such as “live

 view mode”). See Ex. B, Figs. 1-5.

         28.     The Accused Instrumentalities infringe claim 39 of the ’723 Patent, wherein the

 device is configured to present the at least one digital-media file on a display (i.e., the file is

 displayed on the android smartphone running the Olympus Image Share app and the Olympus

 camera). See Ex. B, Figs. 1-6.

         29.     The Accused Instrumentalities infringe claim 40 of the ’723 Patent, wherein the at

 least one digital media file is provided by the wireless mobile device (i.e., the image, video, or

 streaming video file is provided by the Olympus camera). See Ex. B, Figs. 1-6.

         30.     The Accused Instrumentalities infringe claim 42 of the ’723 Patent by including a

 transfer system from transferring a media file over a communication network, comprising a

 media system; and a wireless mobile device, wherein the media system includes: a wireless

 receiver (i.e., the android smartphone running the Olympus Image Share app and the Olympus

 camera includes a wireless receiver in the form of an 802.11 network adapter), a security

 measure (i.e., encryption or password requirements for a wireless network connection), and a

 processor configured to the media system disposed in an accessible relation to at least one

 interactive computer network that has a wireless range structured to permit authorized access to

 said at least one interactive computer network (i.e., the android smartphone running the Olympus

 Image Share app and the Olympus camera includes a NFC chip which is structured to permit

 authorized access to an 802.11 Wi-Fi network), the wireless mobile device within said wireless

 range, wherein said wireless mobile device is detectable by said media system (i.e., when the

 Olympus camera with NFC and Wi-Fi is placed within NFC range of the android smartphone

 running the Olympus Image Share app, it is automatically detected by the android smartphone),
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 at least one digital media file initially disposed on the wireless mobile device (i.e., the Olympus

 camera includes at least on digital media file), said media system being structured to detect said

 wireless mobile device disposed within said wireless range (i.e., the android smartphone running

 the Olympus Image Share app is configured to automatically detect the Olympus camera once it

 entered NFC range)., a communication link structured to dispose said media system and said

 wireless mobile device in a communicative relation with one another via said at least one

 interactive computer network (i.e., the Olympus camera android smartphone running the

 Olympus Image Share app includes a Wi-Fi network adapter which places them in

 communication over w Wi-Fi network), said communication link being initiated by said media

 system (i.e., once the Olympus camera is placed within NFC range, the android smartphone

 automatically initiates a Wi-Fi connection), said wireless mobile device and media system being

 structured to transmit said at least one digital media file therebetween via said communication

 link (i.e., the Olympus camera and android smartphone running the Olympus Image Share app

 are configured to transmit a digital media file such as a photo between them over the Wi-Fi

 network), and said communication link (i.e., a Wi-Fi network) is structured to bypass the security

 measure of the media system for a limited permissible use of the communication link by the

 wireless mobile device for only transferring the at least one digital media file to, and displaying

 the at least one digital media file on, the media system (i.e., the Wi-Fi network security settings

 such as encryption or password requirements are bypassed for the limited purpose of transmitting

 the digital media file and displaying it on the android smartphone running the Olympus Image

 Share app). See Ex. B, Figs. 1-6.

        31.     The Accused Instrumentalities infringe claim 44 of the ’723 Patent, wherein the

 transmission of the at least one digital media file from the wireless mobile device to the media
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 system completely bypasses the security measure (i.e., the Wi-Fi security settings such as

 encryption or password requirements are completely bypassed for the purpose of transmitting the

 digital media file such as a photo). See Ex. B, Figs. 1-6.

         32.     The Accused Instrumentalities infringe claim 47 of the ’723 Patent, wherein the

 communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-

 Fi connection (i.e., the communications link is a Wi-Fi connection). See Ex. B, Figs. 1-6.

         33.     The Accused Instrumentalities infringe claim 48 of the ’723 Patent, wherein the at

 least one digital media file is at least one of an image file, video file, gaming file, and a

 streaming video file (i.e., the file is an image file, video file, or streaming video file such as “live

 view mode”). See Ex. B, Figs. 1-6.

         34.     The Accused Instrumentalities infringe claim 49 of the ’723 Patent, wherein the

 system is configured to present the at least one digital media file on a display (i.e., the file is

 displayed on the android smartphone running the Olympus Image Share app and the Olympus

 camera). See Ex. B, Figs. 1-6.

         35.     The Accused Instrumentalities infringe claim 50 of the ’723 Patent, wherein the at

 least one digital media file is provided by the wireless mobile device (i.e., the digital media file is

 provided by the Olympus camera). See Ex. B, Figs. 1-6.

         36.     As a result of the Defendant’s infringement of the ’723 Patent, Plaintiff has

 suffered monetary damages in an amount not yet determined, and will continue to suffer

 damages in the future unless Defendant’s infringing activities are enjoined by this Court.

         37.     Unless a permanent injunction is issued enjoining Defendant and its agents,

 servants, employees, attorneys, representatives, affiliates, and all others acting on their behalf

 from infringing the ’723 Patent, Plaintiff will be irreparably harmed.
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                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests that this Court enter:

         1.      A judgment in favor of Plaintiff that Defendant has infringed the ’723 Patent;

         2.      A permanent injunction enjoining Defendant and its officers, directors, agents,

 servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in	  

 active concert therewith from infringement, inducing the infringement of, or contributing to the	  

 infringement of the ’723 Patent, or such other equitable relief the Court determines is warranted;

         3.      A judgment and order requiring Defendant pay to Plaintiff its damages, costs,	  

 expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ’723

 Patent as provided under 35 U.S.C. § 284, and an accounting of ongoing post-judgment	  

 infringement; and

         4.      Any and all other relief, at law or equity, to which Plaintiff may show itself to be	  

 entitled.

                                   DEMAND FOR JURY TRIAL

         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of	  

 any issues so triable by right.
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 Dated: March 13, 2017                    Respectfully submitted,

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                                          ATTORNEYS FOR PLAINTIFF
                                          DIGITAL TECHNOLOGIES LLC	  
 	  
